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P|aintiff,

VS.

DEBORAH MCG|NNlS,

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Defendant.

 

 

 

 

MOTlON OF UNITED STATES FOR ADD|T|ONAL TlME TO RESPOND TO
DEFENDANT'S MOT|ON TO SUPPRESS AND MEMORANDUM lN SUPPORT

 

Comes now the United States and moves this Honorable Court for an additional
ten (10) days from the filing of this motion to respond to defendant's motion to
suppress

MEMORANDUM lN SUPPORT

On June 30, 2005, defendant Deborah McGinnis filed a motion to suppress in
the above~sty|ed case. The undersigned Assistant United States Attorney handling this
case left the United States on June 17, 2005 on government business. Tne
undersigned did not return to the office until July 5, 2005. Due to the absence from the
office of the undersigned attorney, the United States respectfully requested an
additional eleven days to respond to said motion. Such request was granted by the
court on July 8, 2005. Due to a backlog of case work and unforeseen Work related
events, the undersigned attorney requests an additional ten (10) days from the date of
the filing of this motion to respond to this motion. The suppression hearing in this case

is not set until August 19, 2005.

 

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Counse| for the defendant has been consulted and has no objection to said

motion_

Respectfully submitted,

TERRELL L. HARRIS

%Zf?i?%c,

l':rederick H. Godwin

Assistant United States Attorney
167 N. Main, Roorn 800
lV|emphis, TN 38103

(#01 1501 Tennessee)

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CERT|F|CATE OF SERV|CE
l, Fredericl< H. Godwin, Assistant United States Attorney for the Western District
of Tennessee, hereby certify that a copy of the foregoing MOT|ON has been mailed,

first class postage pre-paid, to Bruce Griffey, 142 North Third Street, 3rd Floor,

{)VML

Frederick l-l. Godwin

Assistant United States Attorney
167 N. Main, Room 800
Nlemphis, TN 38103

Memphis, TN 38103

This <_Q_Q-l§day of Ju|y, 2005.

   

uNrTED sTATE DRISTIC COURT - WTERN DSTCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 35 in
case 2:05-CR-20128 Was distributed by faX, mail, or direct printing on
July 22, 2005 to the parties listed.

 

 

Bruee I. Griffey

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U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

Honorable J on MeCalla
US DISTRICT COURT

